                 Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 1 of 8




 1

 2

 3

 4

 5

 6                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT TACOMA
 8   CHARLIE GABERTAN,
 9                                 Plaintiff,            Case No. 3:21-cv-05032
10          v.                                           DEFENDANT WALMART INC.’S
11                                                       NOTICE OF REMOVAL
     WALMART INC.,
12                                                       (Pierce County Superior Court, No. 20-2-
                                   Defendant.            08908-2)
13

14

15

16          Defendant Walmart Inc. (“Walmart”), by and through its undersigned counsel and

17   pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453, removes this action from the Superior

18   Court of the State of Washington in and for Pierce County to the United States District Court for

19   the Western District of Washington. In support, Walmart states as follows:

20                                     I.       INTRODUCTION

21          1.      Plaintiff Charlie Gabertan (“Plaintiff”) filed this putative class action in the

22   Superior Court of the State of Washington in and for Pierce County on December 18, 2020.

23   Pursuant to Local Civil Rule 101(b)(1), the complaint (the “Complaint”) is attached to this

24   Notice of Removal.

25          2.      According to the Declaration of Service submitted by Plaintiff, Walmart was

26   purportedly served with the Complaint on December 23, 2020. See Exhibit A. This Notice of
                                                                               LAW OFFICES OF
      NOTICE OF REMOVAL - 1                                                 COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                             A PROFESSIONAL CORPORATION
                                                                               999 THIRD AVENUE
                                                                                  SUITE 1900
                                                                          SEATTLE, W ASHINGTON 98104
                                                                               (206) 340-1000
                 Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 2 of 8




 1   Removal is filed within 30 days of service; it is timely and properly filed by Walmart. See 28

 2   U.S.C. §§ 1446, 1453.

 3          3.      Plaintiff resides in Pierce County, Washington, Compl. ¶ 5, and, upon

 4   information and belief, is a citizen of Washington.

 5          4.      Walmart is a Delaware corporation with its principal executive offices located at

 6   702 S.W. 8th Street, Bentonville, Arkansas. Walmart is therefore a citizen of Delaware and

 7   Arkansas for purposes of diversity jurisdiction under 28 U.S.C. § 1332.

 8          5.      Removal of this action is appropriate under 28 U.S.C. § 1332(d) because the

 9   parties are minimally diverse; the putative class size exceeds 100; and the alleged amount in

10   controversy exceeds $5,000,000.

11                        II.   THE ALLEGATIONS IN THE COMPLAINT

12          6.      Plaintiff alleges that on April 7, 2020, he received a single text message that

13   stated, “WalmartRx – Are you 60+, high-risk, self-quarantining, or have COVID-19 symptoms?

14   Use curbside pickup or have your Rx mailed.” Compl. ¶ 13.

15          7.      Plaintiff alleges that this text message violated Washington’s Consumer

16   Electronic Mail Act (“CEMA”). Based on that alleged violation, Plaintiff asserts a claim under

17   the Washington Consumer Protection Act (“WCPA”). Id. ¶¶ 31–39.

18          8.      Plaintiff seeks to represent a class of “[a]ll persons who are Washington residents

19   who; within the four years prior to the filing of this lawsuit; were sent a commercial electronic

20   text message; by or on behalf of Defendant; to said person’s cellular telephone number;

21   regarding Defendant’s curbside, drive-thru, and/or prescription delivery services” (the “Putative

22   Class”). Id. ¶ 20.

23          9.      Plaintiff alleges that he and the Putative Class members are each entitled to

24   recover $500 per text message, exemplary damages of $1,000 per text message, treble damages,

25   declaratory and injunctive relief, and attorneys’ fees. Id. ¶ 39 & wherefore cl.

26
                                                                                LAW OFFICES OF
      NOTICE OF REMOVAL - 2                                                  COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                              A PROFESSIONAL CORPORATION
                                                                                999 THIRD AVENUE
                                                                                   SUITE 1900
                                                                           SEATTLE, W ASHINGTON 98104
                                                                                (206) 340-1000
                  Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 3 of 8




 1                               III.    NOTICE OF RELATED CASE

 2          10.      This case is related to Gabertan v. Walmart Inc., No. 20-5520 (W.D. Wash),

 3   which has been pending in this Court since June 1, 2020. Both cases involve the same Plaintiff,

 4   the same Defendant, the same counsel, and the same underlying factual allegations.

 5                             IV.      JURISDICTIONAL STATEMENT

 6          11.      The Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat.

 7   4 (2005) grants federal courts diversity jurisdiction over putative class actions that were

 8   commenced on or after its effective date of February 18, 2005, and that have minimal diversity,

 9   100 or more class members, and an aggregate amount in controversy over $5,000,000. See 28

10   U.S.C. §§ 1332 note, 1332(d)(2)(A), 1332(d)(5)(B), 1332(d)(6). This action satisfies each of

11   these requirements.

12   A.     Commencement

13          12.      As set forth above, this action was commenced on December 18, 2020, after

14   CAFA’s effective date. See Compl. Accordingly, CAFA applies to this action. See 28 U.S.C.

15   § 1332 note.

16   B.     Minimal Diversity of Citizenship

17          13.      CAFA requires minimal diversity, i.e., that “any member of a class of plaintiffs

18   is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).

19          14.      Walmart is a citizen of Delaware and Arkansas for purposes of 28 U.S.C.

20   § 1332(c)(1).

21          15.      Plaintiff and numerous members of the Putative Class are citizens of Washington.

22   Hoad v. Humane Soc’y of the United States, No. 08-55620, 2009 U.S. App. LEXIS 22688, at *2

23   (9th Cir. Oct. 15, 2009) (“At the removal stage, Defendants are ‘merely required to allege (not

24   to prove) diversity.’” (citation omitted)).

25          16.      Because Plaintiff and members of the Putative Class are citizens of a state

26   different from Walmart, minimal diversity exists. 28 U.S.C. § 1332(d)(2)(A); Broadway Grill,
                                                                               LAW OFFICES OF
      NOTICE OF REMOVAL - 3                                                 COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                             A PROFESSIONAL CORPORATION
                                                                               999 THIRD AVENUE
                                                                                  SUITE 1900
                                                                          SEATTLE, W ASHINGTON 98104
                                                                               (206) 340-1000
                  Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 4 of 8




 1   Inc. v. Visa Inc., 856 F.3d 1274, 1276 (9th Cir. 2017) (“Under CAFA there is sufficient diversity

 2   to establish federal diversity jurisdiction so long as one class member has citizenship diverse

 3   from that of one defendant.”).

 4   C.     Numerosity

 5          17.     CAFA requires that “the number of members of all proposed plaintiff classes in

 6   the aggregate” be at least 100. 28 U.S.C. § 1332(d)(5)(B). This requirement is satisfied by the

 7   Putative Class. See Compl. ¶¶ 20, 23.

 8          18.     The Complaint alleges that “[t]he members of the [Putative] Class . . . are

 9   believed to be so numerous that joinder of all members is impracticable.” Id. ¶ 23.

10          19.     The Complaint further alleges that there are “thousands of consumers throughout

11   the state of Washington” who fall within the definition of the Putative Class. Id.; see also id.

12   ¶ 22 (“Plaintiff . . . believes the [Putative] Class members number in the several thousands.”).

13   Therefore, there are at least 100 members of the Putative Class. See id.

14          20.     Accordingly, CAFA’s numerosity requirement is satisfied.             See 28 U.S.C.

15   § 1332(d)(5)(B).

16   D.     Amount in Controversy

17          21.     CAFA requires that “the matter in controversy exceeds the sum or value of

18   $5,000,000, exclusive of interest and costs.” Id. § 1332(d)(2). It provides that “to determine

19   whether the matter in controversy exceeds the sum or value of $5,000,000,” the “claims of the

20   individual class members shall be aggregated.” Id. § 1332(d)(6).

21          22.     Plaintiff and the Putative Class seek to recover $500 per text message, exemplary

22   damages of $1,000 per text message, treble damages, declaratory and injunctive relief, and

23   attorneys’ fees. Compl. ¶ 39 & wherefore cl.

24          23.     Plaintiff alleges that the Putative “Class members number in the several

25   thousands, if not more.” Id. ¶ 22 (emphasis added); see also id. ¶ 3 (alleging that Walmart

26   “caused thousands of unsolicited commercial electronic text messages to be sent to the cellular
                                                                                LAW OFFICES OF
      NOTICE OF REMOVAL - 4                                                 COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                             A PROFESSIONAL CORPORATION
                                                                               999 THIRD AVENUE
                                                                                  SUITE 1900
                                                                          SEATTLE, W ASHINGTON 98104
                                                                                (206) 340-1000
                  Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 5 of 8




 1   telephones of Plaintiff and [Putative] Class members” (emphasis added)); id. ¶ 23 (alleging the

 2   Putative Class includes “thousands of consumers throughout the state of Washington” (emphasis

 3   added)).

 4          24.     Although Walmart denies that it has any liability to Plaintiff or the Putative

 5   Class,1 and denies that any class could be properly certified under Federal Rule of Civil

 6   Procedure 23, the aggregate amount of relief sought by the Putative Class exceeds $5,000,000,

 7   exclusive of interest and costs. Plaintiff alleges there are “several thousand” Putative Class

 8   members. By extrapolation, even assuming there are two thousand members, Plaintiff and the

 9   Putative Class seek $9,000,000 in damages (2,000 x $4,500 = $9,000,000). See Dart Cherokee

10   Basin Operating Co. v. Owens, 574 U.S. 81, 84 (2014) (“When the plaintiff’s complaint does

11   not state the amount in controversy, the defendant’s notice of removal may do so.” (citing 28

12   U.S.C. § 1446(c)(2)(A))).

13          25.     In addition, Plaintiff seeks attorneys’ fees. Compl. ¶ 39. Attorneys’ fees are

14   included in determining the amount in controversy for purposes of CAFA jurisdiction. Arias v.

15   Residence Inn by Marriott, 936 F.3d 920, 922 (9th Cir. 2019); see also In re Bluetooth Headset

16   Prods. Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011) (noting that courts in the Ninth Circuit

17   “typically calculate 25% of the fund as the ‘benchmark’ for a reasonable fee award”). Therefore,

18   the inclusion of attorneys’ fees would elevate the amount in controversy further above the

19   threshold CAFA jurisdictional requirement.

20          26.     Because this is a putative class action that was commenced after February 18,

21   2005, and has minimal diversity, at least 100 putative class members, and an aggregate amount

22   in controversy that exceeds $5,000,000, this Court has original subject matter jurisdiction under

23   28 U.S.C. § 1332, and the action is removable under 28 U.S.C. § 1441(a).

24          1
                      By removing this action to this Court, Walmart does not concede that it has any
     liability, let alone liability of greater than $5,000,000, to the members of the Putative Class.
25   “The amount in controversy is simply an estimate of the total amount in dispute, not a
     prospective assessment of defendant’s liability.” Lewis v. Verizon Commc’ns, Inc., 627 F.3d
26   395, 400 (9th Cir. 2010) (citing cases).
                                                                               LAW OFFICES OF
      NOTICE OF REMOVAL - 5                                                 COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                             A PROFESSIONAL CORPORATION
                                                                               999 THIRD AVENUE
                                                                                  SUITE 1900
                                                                          SEATTLE, W ASHINGTON 98104
                                                                               (206) 340-1000
                     Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 6 of 8




 1                                 V.     PROCEDURAL STATEMENT

 2             27.     Pursuant to 28 U.S.C. § 1446(a) and Local Civil Rule 101(b)(1), a copy of the

 3   Complaint is attached to this Notice of Removal and labeled “Complaint.”

 4             28.     Pursuant to 28 U.S.C. § 1446(a) and Local Civil Rule 101(c), any other process,

 5   pleadings, and orders that Plaintiff purportedly served on Walmart as of the date of the Notice

 6   of Removal will be filed separately with counsel’s verification that they are true and complete

 7   copies.

 8             29.     Pursuant to 28 U.S.C. § 1446(a), it is sufficient to provide a “short and plain”

 9   allegation of jurisdiction, and it is not necessary to attach evidence establishing those allegations.

10   See Dart Cherokee Basin Operating Co., 574 U.S. at 84 (“A statement ‘short and plain’ need

11   not contain evidentiary submissions.”).

12             30.     Pursuant to 28 U.S.C. § 1446(b) and Federal Rule of Civil Procedure 6, the

13   original Notice of Removal was timely filed within 30 days of service because Plaintiff

14   purported to serve the Complaint on Walmart on December 23, 2020. See, e.g., Murphy Bros.,

15   Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999).

16             31.     Pursuant to 28 U.S.C. § 1441(a), removal to the United States District Court for

17   the Western District of Washington is proper because it embraces the Superior Court of the State

18   of Washington in and for the County of Pierce, where this action was pending before it was

19   removed. See 28 U.S.C. § 128(b).

20             32.     Pursuant to 28 U.S.C. § 1446(d), Walmart will promptly file a copy of this Notice

21   of Removal in the Superior Court of the State of Washington in and for the County of Pierce,

22   and give Plaintiff written notice of its filing.

23             33.     By removing the action to this Court, Walmart does not waive any defenses that

24   are available to it under state or federal law. Walmart expressly reserves all threshold defenses

25   to this action and its right, for example, to move to dismiss or for the entry of judgment pursuant

26
                                                                                   LAW OFFICES OF
      NOTICE OF REMOVAL - 6                                                     COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                                 A PROFESSIONAL CORPORATION
                                                                                   999 THIRD AVENUE
                                                                                      SUITE 1900
                                                                              SEATTLE, W ASHINGTON 98104
                                                                                   (206) 340-1000
                Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 7 of 8




 1   to Federal Rules of Civil Procedure 12 and 56, and to strike or oppose the certification of any

 2   putative class pursuant to Federal Rule of Civil Procedure 23.

 3          WHEREFORE, pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453, Walmart

 4   respectfully removes this action from the Superior Court of the State of Washington in and for

 5   the County of Pierce to the United States District Court for the Western District of Washington.

 6

 7   Dated: January 12, 2021
 8   /s/ Macee B. Utecht                         /s/ Meredith C. Slawe
     COZEN O’CONNOR                              /s/ Michael W. McTigue Jr.
 9
     Macee B. Utecht, WSBA #55465                /s/ Marie Bussey-Garza
10   999 Third Avenue, Suite 1900                COZEN O’CONNOR
     Seattle, WA 98104                           Meredith C. Slawe (pro hac vice forthcoming)
11   Phone: (206) 373-2791                       Michael W. McTigue Jr. (pro hac vice
     Email: mutecht@cozen.com                    forthcoming)
12                                               One Liberty Place
13                                               1650 Market Street, Suite 2800
                                                 Philadelphia, PA 19103
14                                               Phone: (215) 665-2000
                                                 Email: mslawe@cozen.com
15                                                       mmctigue@cozen.com
16                                               E. Marie Bussey-Garza (pro hac vice forthcoming)
17                                               1717 Main Street, Suite 3100
                                                 Dallas, TX 75201
18                                               Phone: (214) 462-3085
                                                 Email: mbussey-garza@cozen.com
19
                                  Attorneys for Defendant Walmart Inc.
20

21

22

23

24

25

26
                                                                               LAW OFFICES OF
      NOTICE OF REMOVAL - 7                                                 COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                             A PROFESSIONAL CORPORATION
                                                                               999 THIRD AVENUE
                                                                                  SUITE 1900
                                                                          SEATTLE, W ASHINGTON 98104
                                                                               (206) 340-1000
                Case 3:21-cv-05032 Document 1 Filed 01/12/21 Page 8 of 8




 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that on January 12, 2021, a true and correct copy of the foregoing

 3   document was served upon the following counsel of record for Plaintiff by mail and email:

 4
                                    Kira M. Rubel, WSBA #51691
 5                               3615 Harborview Drive NW, Suite C
                                       Gig Harbor, WA 98332
 6
                                        Phone: (253) 358-2215
 7                                  kira@theharborlawgroup.com

 8                                       Manuel Hiraldo, Esq.
                                           HIRALDO P.A.
 9                                 401 E. Las Olas Blvd., Suite 1400
10                                    Fort Lauderdale, FL 33301
                                        Phone: (954) 400-4713
11                                    mhiraldo@hiraldolaw.com

12                                        Andrew J. Shamis
                                     SHAMIS & GENTILE, P.A.
13                                   14 NE 1st Avenue, Suite 400
14                                        Miami, FL 33132
                                        Phone: (305) 479-2299
15                                   ashamis@shamisgentile.com

16                                      Scott Edelsberg, Esq.
                                   19495 Biscayne Blvd., Suite 607
17                                      Aventura, FL 33180
18                                     Phone: (305) 975-3320
                                      scott@edelsberglaw.com
19
20                                                         /s/ Macee B. Utecht
                                                           Macee B. Utecht
21

22

23

24

25

26
                                                                             LAW OFFICES OF
      NOTICE OF REMOVAL - 8                                               COZEN O’CONNOR
      CASE NO. 3:21-CV-05032                                           A PROFESSIONAL CORPORATION
                                                                             999 THIRD AVENUE
                                                                                SUITE 1900
                                                                        SEATTLE, W ASHINGTON 98104
                                                                             (206) 340-1000
